            Case 3:11-cv-00002-WWE Document 1 Filed 01/03/11 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

  SONIA I. ALESSI,
                                                         Civil Action No. 3:11-cv-2
                              Plaintiff,
                                                         (Connecticut Superior Court,
            v.                                            Centralized Small Claims Session,
                                                          No. SCC-369574, Venue SCA22)
  WORLD FINANCIAL NETWORK
  NATIONAL BANK,

                              Defendant.
                                                         January 3, 2011


                                     NOTICE OF REMOVAL

       Pursuant to Title 28 U.S.C. §§ 1331, 1441 and 1446 and the Standing Order on Removed

Cases, the defendant, World Financial Network National Bank (“WFNNB”), hereby gives notice

of removal of this action to the United States District Court for the District of Connecticut. The

grounds for removal are original jurisdiction, as follows:

       1.        This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b). On or

about November 12, 2010, plaintiff Sonia I. Allessi (“Plaintiff”) filed an action in the

Connecticut Superior Court, Centralized Small Claims Session. According to the envelope’s

postmark, Connecticut marshal Winthrop “Bill” Fry mailed by certified mail, return receipt

requested, a copy of Plaintiff’s Complaint to the Secretary of WFNNB on December 1, 2010.

(See Small Claims Writ and Notice of Suit, Exhibit A.)

       2.        Pursuant to 28 U.S.C. §1331, original jurisdiction exists in this Court. The

Complaint makes the following allegations, which are quoted below verbatim:

                    1. Numerous offenses of which violated my rights protected
                    under the Fair Credit Reporting Act Section 604(A)(3).
            Case 3:11-cv-00002-WWE Document 1 Filed 01/03/11 Page 2 of 3




                   2. Numerous misrepresentations about themselves which
                   violated my rights protected under the Fair Debt Collection
                   Practices Act.

                   3. Numerous offenses of which violated my rights protected
                   under Section 809(b), 808, 805(b), 805(c), 806 and 807 of the
                   Fair Debt Collection Practices Act.

                   4. Numerous offenses of which violated my privacy that is
                   protected under the Privacy Act of 1974.

(Small Claims Writ and Notice of Suit, Exhibit A.) The Fair Credit Reporting Act is

codified at 15 U.S.C. § 1681, et seq. The Fair Debt Collection Practices Act is codified at

15 U.S.C. § 1692, et seq. The Privacy Act is codified at 5 U.S.C. § 552a, et seq.

       4.       No other process, pleadings or orders have been served upon WFNNB. See 28

U.S.C. § 1446(a). As required by § 1446(b), certified or attested copies of all records,

proceedings, and docket entries in state court will be filed with this Court within thirty (30) days

of this Notice of Removal.

       8.       Pursuant to § 1446(d), WFNNB shall promptly give written notice hereof to all

adverse parties and file a copy of this Notice of Removal with the Connecticut Superior Court,

Centralized Small Claims Session, notifying that court of this removal. A copy of the state court

notice to be filed (without exhibits) is attached hereto as Exhibit B.

       WHEREFORE, the Defendant, World Financial Network National Bank, hereby effects

the removal of the cause and requests that this Court maintain jurisdiction over it as provided by

law.




                                                  2
         Case 3:11-cv-00002-WWE Document 1 Filed 01/03/11 Page 3 of 3



                                     Respectfully submitted,

                                     THE DEFENDANT,
                                     WORLD FINANCIAL NETWORK NATIONAL BANK,

                                     By its attorneys,


                                       /s/ David M. Bizar
                                     David M. Bizar (CT20444)
                                     dbizar@seyfarth.com
                                     eweibust@seyfarth.com
                                     Seyfarth Shaw, LLP
                                     World Trade Center East
                                     Two Seaport Lane, Suite 300
                                     Boston, MA 02210
                                     Telephone: (617) 946-4874
                                     Facsimile: (617) 790-5368

                                CERTIFICATE OF SERVICE

        I hereby certify in accordance with the Standing Order on Removed cases that on this 3rd
day of January, 2011, a true copy of the foregoing was served by first class mail upon all parties
of record, as follows:

       Sonia I. Alessi
       16 Knapp Street
       Easton, Connecticut 06612
       Pro Se

                                                            /s/ David M. Bizar
                                                            David M. Bizar




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